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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CITY OF PHILADELPHIA,                CIVIL ACTION NO.
                                     2:17-CV-02203-AB
             Plaintiff,

          -against-

WELLS FARGO & CO, and WELLS
FARGO BANK, N.A.,

             Defendant.


         CITY OF PHILADELPHIA’S RESPONSE TO WELLS FARGO’S
         MOTION TO SET A PHASE ONE DISCOVERY TIME PERIOD
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I.      INTRODUCTION

        On February 19, 2018, Wells Fargo & Co and Wells Fargo Bank, N.A.’s (“Wells

Fargo’s”) filed a motion to limit the temporal scope of Phase One discovery to the four-year

period between 2012 and 2016. 1 As Plaintiff City of Philadelphia (“City”) demonstrates herein,

the Motion should be denied for two independently sufficient reasons: it is an improper motion

to reconsider, and it is a premature and unsupported attempt to foreshorten Plaintiff’s discovery

to less than a third of the liability period in this case.

        First, Wells Fargo’s Motion is an untimely and flawed motion to reconsider. Wells

Fargo seeks to relitigate issues Wells Fargo already lost. This Court already has held that “the

City properly alleges a continuing violation, and Wells Fargo’s statute of limitation argument

fails at this stage.” 2 The Court also already has held that “[t]he intersection of the continuing

violation theory and the statistical nature of the City’s disparate impact claim demonstrates why

discovery must extend—at the very least—well beyond the limitations period.” Id. at 12

(emphasis added). In that ruling and the Court’s Discovery Order, Dkt. No. 60, the Court

unambiguously established two phases for this litigation, bifurcated as to non-economic injuries

and economic injuries, and not by time period. The question of whether the City has brought

timely claims and whether it has adequately alleged a continuing violation has been decided.

        Rather than timely asking the Court to reconsider that Discovery Order, Wells Fargo

waited a month to file its Motion, styling it as a new discovery motion and failing to seek

reconsideration at all. And, in that guise, Wells Fargo seeks to limit the City’s ability to take


1
  See Wells Fargo’s Motion to Set a Phase One Discovery Time Period of Twice the Applicable
Statute of Limitations to Allow Discovery into Relevant Background Events (“Motion”). Dkt.
No. 64.
2
  Jan. 16, 2018 Memorandum Opinion Denying Motion to Dismiss and Motion to Stay and/or
Limit Discovery (“Jan. 16 Order”), Dkt. No. 57, at 6 (emphasis added).




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discovery as to clearly relevant information. Wells Fargo has no new law and no facts this Court

overlooked, and thus no basis for reconsideration at all.

        Second, even if this Motion were procedurally proper, it should be denied on the merits

because it is premature and unsupported. It is premature because Wells Faro seeks to litigate

discovery issues unconnected to particular requests. It shows no burden to producing discovery

outside of the arbitrarily determined period of four years, only approximately one-third of the

liability period. It shows no burden at all, let alone an undue burden, to an even broader time for

discovery—for example, it describes a “seismic shift” in 2008, yet doesn’t explain why

discovery should therefore (under its own reasoning) date back to two or three years prior to that

event, to 2005 or 2006 or so. Wells Fargo’s arguments are in sharp contrast to the facts in the

limited (and generally inapposite) case law on which it relies. The City maintains that its

requests are neither overbroad nor unduly burdensome; nonetheless, one thing is clear – Wells

Fargo’s motion to foreclose all discovery pre-2012, unconnected to a showing about any

discovery in particular, is premature and overbroad.

        Finally, the Motion is unsupported because, contrary to Wells Fargo’s contention, this

ruling is consistent with ample authority in civil rights cases that permit even pre-liability

discovery—the equivalent here being before 2004, which the City is not seeking. Conversely,

Wells Fargo identifies no authority for its position that a plaintiff who has properly alleged a

continuing violation cannot seek any discovery for the majority of the period of those

violations. 3



3
  Wells Fargo argues that discovery pre-dating 2012 is not relevant because (according to its self-
serving and merits-based argument) it changed its lending practices. Yet Wells Fargo ignores
the core claim that it has engaged in discriminatory lending by giving African Americans and
Latinos costlier and worse loans relative to comparable non-Hispanic whites continuously
                                                                 Footnote continued on next page



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II.    ARGUMENT

       A.      Wells Fargo’s Motion Improperly Seeks Additional Review and
               Reconsideration of the January 16 Order and Must be Denied. 4

       As an initial and dispositive matter, the Court has already ruled on the temporal scope of

discovery in denying Wells Fargo’s request to bifurcate discovery and require the City to prove

the timeliness of its Complaint based on a narrow time period before proceeding to full-fledged

discovery. Dkt. No. 57. Having lost its motion to limit discovery to two years, Wells Fargo

simply changed the time period from two to four years and now seeks to renew its motion.

       This re-packaging does not cite new law (there is none) and is devoid of any argument

that the Court overlooked anything (which it did not). Wells Fargo’s motion is nothing more

than an untimely and facially inadequate motion for reconsideration. See Local Rule 7.1(g) (14

days to move to reconsider). See generally United States v. Cephalon, Inc., 159 F. Supp. 3d 550,

555 (E.D. Pa. 2016) (“Motions for reconsideration are granted only ‘sparingly because of the

interests in finality and conservation of scarce judicial resources.’”) (quoting Pa. Ins. Guar.

Ass’n v. Trabosh, 812 F. Supp. 522, 524 (E.D. Pa. 1992)). As the Cephalon case held:

               The moving party’s “mere disagreement” with the Court's decision
               is not grounds for reconsideration. Meachum v. Temple Univ. of
               the Commw. Sys. of Higher Educ., 56 F. Supp. 2d 557, 557 n.2
               (E.D. Pa.1999), citing Bermingham v. Sony Corp., 820 F. Supp.
               834, 856 (D.N.J. 1992). The moving party bears a substantial
               burden, which cannot be satisfied through “recapitulation of the
               cases and arguments considered by the court before rendering its
               original decision.” Young Jewish Leadership Concepts v. 939
               HKH Corp., No. 93–2643, 1994 WL 184410, at *1 (E.D. Pa. May
               10, 1994), citing Starr v. J.C.I. Data Processing, Inc., 767 F. Supp.
               633, 635 (D.N.J. 1991).           “[A] motion for reconsideration
               ‘addresses only factual and legal matters that the Court may have
Footnote continued from previous page
through the present even while it has adapted to changing market conditions. See, e.g., Compl., ¶
5. As shown below, Wells Fargo’s declarants, if anything, actually bolster the City’s claims.
4
  Wells Fargo has also sought certification under 28 U.S.C. §1292(b) of some of the same issues
that are intertwined with this brief. Dkt. No. 73 (City’s Mar. 1 Response).




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                overlooked.... It is improper on a motion for reconsideration to ask
                the Court to rethink what [it] had already thought through—rightly
                or wrongly.”’ Glendon Energy Co. v. Borough of Glendon, 836 F.
                Supp. 1109, 1122 (E.D. Pa. 1993) (citations omitted).

Id. at 155. Wells Fargo does not even attempt to meet its substantial burden for reconsideration

of the Court’s well-reasoned Order that denied the motion to dismiss on statute of limitations

grounds and that bifurcated discovery on substantive, rather than temporal, grounds. 5 Yet the

January 16 Order denied the motion to stay or limit discovery, and it also held that the City

properly alleged a continuing violation. These rulings are law of the case and should not be

disturbed. 6 See In re The Harris Agency, LLC, 462 B.R. 514, 525 (E.D. Pa. 2011) (Brody, J.).

       B.       Even If Wells Fargo’s Motion Were Proper, Each of Its Arguments Fails.

                1.     The Time Period At Issue Is Clearly Relevant.

       Wells Fargo argues that discovery from the time period prior to 2012 is not relevant to

the City’s claims because Wells Fargo purportedly changed certain lending practices in 2008.

This argument fails for several reasons and, accordingly, the motion should be denied.

       First, discovery going back to 2004, rather than 2012, is warranted because the case

challenges conduct occurring as of 2004 and continuing through September 2016 (if not beyond).

Wells Fargo’s argument that an arbitrary discovery cutoff of September 2012 is warranted due to



5
  In some respects Wells Fargo’s Motion is even more aggressive than the motion on which it
lost. Notably absent here is any mention of when the City might receive discovery for the full
period of alleged discriminatory conduct. Indeed, in its prior motion, Wells Fargo proposed that
the City would receive two years of discovery and, if the City met Wells Fargo’s ill-defined
threshold, the City could receive full-fledged discovery in the second phase. Wells Fargo no
longer proposes that phase. Because the Court has already established the subjects for the two
phases of discovery (i.e., non-economic and economic injuries), Wells Fargo’s new motion
effectively seeks summary judgment—without any discovery as to the 2004-2012 time period
whatsoever—on the City’s claims concerning non-economic injuries.
6
  Wells Fargo’s motion to dismiss also premised its arguments on the existence of the lending
crisis and its aftermath. Dkt. No. 25-1, at 20. There is nothing new here.




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purportedly changed aspects of its lending practices in 2008 (four years before 2012) is

untethered to facts or law.

       Second, Wells Fargo’s own cases confirm that pre-liability7 discovery in civil rights

cases of up to five years is not uncommon. See P.V. ex rel. Valentin v. School Dist. of

Philadelphia, 2:11-cv-04027, 2012 WL 676993, at *4 (E.D. Pa. Mar. 1, 2012) (relied on by

Wells Fargo) (citing cases allowing pre-liability discovery and noting that the plaintiffs were

“entitled to some background discovery on the duration of and modifications to Defendants’

policies and practices that are at issue in the suit”). Thus, the City’s proposed 2004 beginning of

the relevant time period, four years prior to the liability period that Wells Fargo’s own self-

serving declarations purport to establish, is wholly appropriate even under Wells Fargo’s

formulation of the inquiry.

       Third, Wells Fargo mischaracterizes the City’s case. This is a discrimination case, and as

such requires a comparison of the terms, risks, and costs of loans issued to minority versus white

borrowers and an examination of Wells Fargo’s continuous and unbroken discriminatory

practices. Wells Fargo’s motion requires the City’s allegations to be miscast as a case solely

about the particular form of extreme predatory lending leading up to the financial crisis, a related

but independent concept. Indeed, the City’s Complaint addresses not only Wells Fargo’s

historical misconduct but also its much more recent injury-causing practices. See, e.g., Compl.,

¶¶ 3 (failure to extend credit to minority borrowers to refinance previously issued discriminatory

loans), 58-66 (addressing long-standing systemic unlawful sales practices).

7
  Most cases do not involve a continuing violation, so the statute of limitations period and the
liability period dovetail. Because of the continuing-violation allegations, the earlier misconduct
is within the limitations period. Therefore, allegations relating to practices beginning in 2004
similarly dovetail with the liability period. See Alpha III, Inc. v. City of San Diego, 187 Fed.
Appx. 709, 710-11 (9th Cir. 2006) (otherwise untimely acts are melded with timely ones to
create a single timely allegation under the FHA’s continuing-violation provision).




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       Wells Fargo nowhere acknowledges the basic theory of the City’s claims and

unsurprisingly its self-serving factual assertions do not answer any relevant argument before this

Court. Because the City’s case concerns a continuing practice of lending to minority borrowers

on less favorable terms as compared to white borrowers, and not based on the use of any specific

loan product, Wells Fargo’s assertions of “changed practices” are inapposite and do not justify

limiting the relevant time period for discovery.

       Relatedly, its self-serving declarations and factual assertions are not germane to a

comparison of loans issued to similarly situated minority and white borrowers. In one

declaration prepared for another case, a long-term Wells Fargo employee confirms that Wells

Fargo’s loan offerings are centralized. 8 The other declaration is simply a one-page declaration

asserting that Wells Fargo changed the compensation of home mortgage consultants. Exhibit 2,

Dkt. No. 64-2, Id. at ¶¶ 2-3. 9 Overall, Wells Fargo relies on the unremarkable fact—albeit

arising out of remarkable circumstances—that, as a result of the worldwide housing crises, 10


8
  See Dkt. No. 64-1 (Ex. 1). The employee notes that Wells Fargo discontinued certain loan
offerings in 2008. That Wells Fargo was forced to discontinue the extreme versions of some of
its most egregious practices (e.g., no-document loans) does not speak to the question of whether
Wells Fargo continues to issue discriminatory loans.
9
  This declaration also contradicts the allegations (reflecting confidential witnesses and other
sources) of improper incentives relating to lender credits and other practices that result in
improper lending. Compl., ¶¶ 31-63. In fact, “[a]t all times pertinent to this action, Wells Fargo
was guided by its widely criticized philosophy of cross-selling eight products to each customer,
commonly referred to as the ‘Gr-Eight.’ Within Community Bank, “the cross-sell metric
represents the relationship of all retail products used by customers in retail banking households.’”
Compl., ¶ 59. Notably, this declaration concedes that home mortgage consultants’ compensation
could still be tied to “the volume (i.e., the number) of loans originated,” “the amount financed,”
and “whether a loan is originated to a current Wells Fargo customer or a new customer.” Id. at ¶
3.
10
   The federal Financial Crisis Inquiry Commission, appointed pursuant to Pub. L. No. 111-21,
123 Stat. 5 (2009), concluded that “it was the collapse of the housing bubble—fueled by low
interest rates, easy and available credit, scant regulation, and toxic mortgages—that was the
spark that ignited a string of events, which led to a full-blown [financial] crisis in the fall of
2008.” Financial Crisis Inquiry Report xvi (Jan. 2011) (emphasis added), available at
                                                                    Footnote continued on next page



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Wells Fargo, like other banks, tightened its lending and had to curb some of the most egregious

practices, including in the wake of Dodd-Frank. Wells Fargo Br. at 5-6. But this says nothing

about Wells Fargo’s specific (and ongoing) policies and practices of issuing more costly and

worse loans to African Americans and Latinos relative to comparable non-Hispanic whites. The

Eleventh Circuit rejected a similar argument, holding that the existence of a continuing practice

of discriminatory lending is not dependent on any particular loan characteristic:

               The City alleges that the Bank has engaged in a longstanding
               practice of discriminatory lending in which it extends loans to
               minority borrowers only on more unfavorable terms than those
               offered to white borrowers. The predatory qualities of the loans
               have taken slightly different forms over time (e.g., higher interest
               rates, undisclosed back-end premiums, higher fees, etc.), but the
               essential discriminatory practice has remained the same: predatory
               lending targeted at minorities in the City of Miami. The fact that
               the burdensome terms have not remained perfectly uniform does
               not make the allegedly unlawful practice any less “continuing.”
               The various instances of discriminatory lending comprise the
               practice, which continues into the limitations period. At least at the
               pleading stage, this is enough to plausibly invoke the continuing
               violation doctrine.

City of Miami v. Bank of Amer. Corp., 800 F.3d 1262, 1285 (11th Cir. 2015).

       Finally, this is a case about Wells Fargo in particular, not about the macroeconomic

conditions of the last decade. Wells Fargo alone has warranted intense regulatory scrutiny and

censure for specific, continuous, and egregious sales practices. Compl., ¶¶ 54-63. While Wells

Fargo’s declarants claim their sales practices were devoid of improper incentives after a certain

date, the materials cited in the City’s well-pleaded Complaint tell the opposite story: that at all

relevant times Wells Fargo’s sales practices were systematically flawed and improper, and the



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http://www.gpo.gov/fdsys/pkg/GPO-FCIC/pdf/GPO-FCIC.pdf. It is remarkable that Wells
Fargo seeks to excuse its misconduct on the basis of a financial crisis that it helped create.




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absence of internal controls and flawed sales incentives are neutral practices harming African

American borrowers and the City. Compl., ¶¶ 59-66.

       Wells Fargo has shown no basis for its arbitrarily proposed discovery start date of 2012.

Even if the case alleged conduct during a time period starting only in 2008, discovery (especially

data) from before that time would be relevant to show the creation and implementation of

policies and the impact of those policies.

               2.      Wells Fargo Does Not Even Attempt to Show Burden.

       Even though Wells Fargo cannot show that all discovery before 2012 is irrelevant

(indeed, it has not even come close to showing that any discovery is irrelevant), the motion is

notable for its lack of assertion of burden. While the City anticipates that Wells Fargo will argue

that burden is a secondary condition to relevance, this argument is hollow in light of the

demonstrated relevance of discovery pre-dating 2012 in a case where the liability period pre-

dates 2012.

       The City has been transparent with Wells Fargo that there may well be particular requests

or categories of documents which in context—after Wells Fargo has made a good-faith effort to

ascertain the existence, location and ease of gathering certain documents—may require the

parties to reach agreements as to the temporal scope for such requests. However, ex-ante,

independent of any particular request (and realizing that Wells Fargo is currently under various

litigation holds for various allegations of misconduct and, in the past, that it had to gather

documents in connection with multiple regulatory actions), the City believes this is all the more

reason why the parties should address discovery issues in the context of specific requests. 11 To


11
  It bears noting that the City has made clear to Wells Fargo that loan data, which is principal
evidence for establishing discriminatory violations of the FHA in cases like this one, is required
and appropriate for the full relevant time period and is proportionate to the needs of the case. To
                                                                  Footnote continued on next page



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the extent, in the future, Wells Fargo asserts an objection based on the burden of any specific

request, Wells Fargo will need to say something other than discovery should not be produced

because Wells Fargo itself deems it irrelevant. But for now, the City asks that the Court make

clear that its Discovery Order, Dkt. No. 60, means what it says: that the City is entitled to

discovery from the full relevant time period to prove its claims of non-economic injuries

attendant to Wells Fargo’s continuing violation of the FHA from January 2004 and forward.

               3.      Wells Fargo’s Case Law Is Inapposite.

       For the most part, the scant case law Wells Fargo cites either supports the City’s

argument 12 or is inapposite. The principal authority on which Wells Fargo relies confirms the

relevance of discovery of earlier events (and, again, here the City is not seeking pre-liability

discovery), and also confirms that disputes about temporal scope typically arise in the context of

a fuller discovery record.

       In Valentin, 2012 WL 676993, at *3, the court listed the various rationales for why pre-

liability discovery is appropriate, and that the inquiry was a case-by-case analysis. In the context

of that case, and based on an analysis that factored in discussions of burden and specific requests,

the court ordered a temporal scope longer than defendants wanted but shorter than plaintiffs

wanted. Id. at *3-5. In Kuttner v. Zaruba, 819 F.3d 970 (7th Cir. 2016), an out-of-circuit,

individual plaintiff case in a post-summary judgment posture, the Seventh Circuit held that the

lower court had not abused its discretion in placing limitations on personnel records. The case is

Footnote continued from previous page
date, Wells Fargo has not provided any information about a particularized burden that the City’s
data request (which Wells Fargo has had since January 26, 2018) imposes.
12
   Wells Fargo cites cases that acknowledge the general principle that broad discovery is
appropriate in civil rights cases. See Mot. at 3 (citing Stewart v. Rutgers, The State Univ., 120
F.3d 426, 433 (3d Cir. 1997) (internal quotations omitted)). This and the unobjectionable
general proposition that discovery issues are generally fact-specific and within the Court’s
discretion are not points that the City disputes.




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factually and procedurally distinguishable—and also prompted a well-reasoned dissent from

then-Judge Posner. Id. at 978-980 (lamenting the “arbitrary discovery cut-off date”). Finally,

Jewett v. International Telephone & Telegraph Corp., 653 F.2d 89 (3d Cir. 1981), is inapposite

because the plaintiff had not established a timely claim, and evidence actually showed that the

challenged policy ended before the actionable period. Here, by contrast, Wells Fargo does not

even address the challenged policies.

       Wells Fargo also cherry picks references from certain other municipal litigation against

banks, and fails to disclose that those cases have imposed a different discovery structure than this

one. Specifically, Wells Fargo points to an order in the City of Miami Gardens case against

Citibank that limited discovery to a four-year statutory period. That order, however, was issued

in the context of a decision bifurcating discovery on statute of limitations grounds, i.e., in the

first phase, Miami Gardens would receive four years of discovery and, if a continuing violation

were demonstrated during those four years, Miami Gardens would receive full-fledged discovery

in the second phase. In this case, by contrast, the Court has bifurcated discovery, not on the

relevant time period, but rather on the basis of discovery concerning non-economic and

economic injuries. See Dkt. No. 60. The Citibank decision is inapposite, and Wells Fargo’s

reliance on other cases is more of its unacknowledged attempt to seek reconsideration. Wells

Fargo also ignores that the District Court in the case brought by the City of Oakland permitted

certain discovery to be produced unrestricted by time period. See City of Oakland v. Wells

Fargo Bank, N.A., 3:15-cv-04321-EMC, Dkt. No. 72 (N.D. Cal. Sept. 2, 2016).

III.   CONCLUSION

       For the reasons set forth above, Wells Fargo’s motion should be denied. Any relevance

or burden arguments should be addressed in the course of normal discovery practice.




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Dated: March 5, 2018                    Respectfully submitted,



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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I am over 18 years of age, and that a true and correct copy of

the foregoing CITY OF PHILADELPHIA’S RESPONSE TO WELLS FARGO’S

MOTION TO SET A PHASE ONE DISCOVERY TIME PERIOD was served via the United

States District Court CM/ECF system on all persons requiring notice.

                                            /s/Sherrie R. Savett




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